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Case 3:19-cv-00248-RRB ooculs) Filed 09/10/19 Page 6 of 16
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Case 3:19-cv-00248-RRB 2 Filed 09/10/19 Page 7 of 16
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Case 3:19-cv-00248-RRB ool Bn 1 Filed 09/10/19 Page 9 of 16
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Case 3:19-cv-00248-RRB Bgean ent 1 Filed 09/10/19 Page 10 of 16
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Case 3:19-cv-00248-RRB Document1 Filed 09/10/19 Page 11 of 16
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Case 3:19-cv-00248-RRB Document1 Filed 09/10/19 Page 14 of 16
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901 Wythe Road
Springfield, IL 62702

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